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 5

 6
      Attorneys for Plaintiff CARMEN JOHN PERRI
 7

 8
                           UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11      CARMEN JOHN PERRI, an                Case No.: 2:20-cv-06579-DMG-MRW
        individual,
12                                           PLAINTIFF’S RESPONSE TO ORDER
13      Plaintiff,                           TO SHOW CAUSE RE DISMISSAL
                                             FOR LACK OF PROSECUTION
14      v.
15
        420 BOYD STREET, LLC, a
16      California limited liability
17      company; and DOES 1-10,
        inclusive,
18

19      Defendants.
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 1
      TO THE COURT OF THE ABOVE-ENTITLED CASE AND TO ALL
 2
      PARTIES AND THEIR COUNSEL OF RECORD
 3
            On August 21, 2020 the Court issued an Order to Show Cause Re Dismissal
 4
      For Lack of Prosecution.
 5
                   PLEASE TAKE NOTICE that Plaintiff CARMEN JOHN PERRI has
 6
      settled the above-captioned matter with Defendant 420 BOYD STREET, LLC. This
 7
      settlement will resolve the above-captioned matter in its entirety and with prejudice.
 8
      The Parties are in the process of finalizing a settlement agreement and anticipate
 9
      filing a Dismissal within the next forty-five (45) days.
10
            In consideration of this settlement and with the intentions of preserving both
11
      the Court’s resources and the Parties’ respective resources, Plaintiff respectfully
12
      requests that the Court discharge the Order to Show Cause pending the Parties filing
13
      of a Dismissal.
14

15

16
      Dated: August 28, 2020           MANNING LAW, APC
17

18                                     By: /s/ Joseph R. Manning Jr., Esq.
19                                        Joseph R. Manning Jr., Esq.
                                          Attorneys for Plaintiff
20                                        Carmen John Perri
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 1
                                CERTIFICATE OF SERVICE
 2
            I certify that on August 28, 2020 I electronically filed the foregoing document
 3
      with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 4
      document is being served this day on counsel of record in this action via email
 5
      transmission and via transmission of Electronic Filing generated by CM/ECF.
 6
                                                       Respectfully submitted,
 7

 8    Dated: August 28, 2020                          MANNING LAW, APC
 9

10

11                                          By:       /s/ Joseph R. Manning, Jr., Esq.
                                                      Joseph R. Manning, Jr. Esq.
12                                                    Attorneys for Plaintiff,
13                                                    Carmen John Perri
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